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   6
       Attorneys for CIT BANK, N.A.
   7

   8

   9                            UNITED STATES BANKRUPTCY COURT
  10     CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO VALLEY DIVISION
  11   In re                                             Case No. 1:17-bk-12566-MB
  12   ROBERT BENJAMIN SAUTTER,                          Chapter 7
  13                                                     STIPULATION RE: VOLUNTARY
                       Debtor(s).                        DISMISSAL OF MOTION FOR
  14                                                     RELIEF FROM AUTOMATIC STAY
                                                         [DOCKET NO. 31]
  15
                                                         DATE: February 28, 2018
  16                                                     TIME: 10:00 AM
                                                         CTRM: 303
  17                                                     21041 Burbank Boulevard Woodland Hills,
                                                         CA 91367
  18

  19

  20

  21           This Stipulation to Dismiss Motion for Relief from the Automatic Stay (“Stipulation”) is
  22 entered into by and between the Chapter 7 Trustee, David Seror (“Chapter 7 Trustee”) and its

  23 counsel of record and CIT Bank, N.A. ("Movant"), by and through its attorneys of record, Aldridge

  24 Pite, LLP.

  25           Whereas on September 25, 2017, Debtor commenced the instant case by filing a voluntary
  26 petition under chapter 13 of the Bankruptcy Code in the U.S. Bankruptcy Court for the Central

  27 District of California.
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    1            Whereas, on December 7, 2017, Movant filed a Motion for Relief from the Automadc Stay

    2   ("Motion") with respect to the real property located at 3859 Sherwood Place, Sherman Oaks,

    3   California 91423 (the "Property") which appears at Docket No. 31.

    4            Whereas, on December 20, 2017, the Chapter 7 Trustee filed an Opposition to Debtor's

    5   Motion.

    6            Whereas, on January 3, 2018, a hearing was held on Movant's Motion whereat Movant

    7   requested and the Court granted a continuance of the hearing to February 28, 2018.

    8            Whereas, the Court did not grant Movant relief from the automatic stay imposed under 11

    9   U.S.C. 362(a) at the January 3, 2018 hearing.

   10            NOW THEREFORE, it is hereby stipulated by and between the parties that the Motion shall

   11   be dismissed without prejudice pursuant to Rule 41 of the Federal Rules of Civil Procedure, made

   12   applicable to this proceeding by Rules 7041 and 9014 of the Federal Rulesof BankruptcyProcedure,

   13   and Local Bankruptcy Rule 9013-l(k), and that the status quo ante shall prevail.

   14

   15            IT IS SO STIPULATED:

   16   Dated: January 19, 2018                         BRUTZKUS GUBNER

   17

   18

   19
                                                     REAGAN E.^OYCE
                                                     Attorney for David Seror, Chapter 7 Trustee
   20

   21            January 29, 2018
        Dated:                                       ALDRIDGE PITE, LLP
   22
                                                    /s/ Gilbert R. Yabes (SBN 267388)
   23
                                                    GILBERT R. YABES
                                                     Attorneys for CIT BANK, N.A
   24

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                       4375 Jutland Drive, Suite 200 P.O. Box 17933 San Diego, CA 92177-0933

A true and correct copy of the foregoing document entitled (specify): NOTICE OF VOLUNTARY DISMISSAL OF
MOTION FOR RELIEF FROM AUTOMATIC STAY will be served or was served (a) on the judge in chambers in
the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders
and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date) _January 29,
2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


U.S. TRUSTEE:                                                                     ATTORNEY FOR DEBTOR:
ustpregion16.wh.ecf@usdoj.gov                                                     Kevin T. Simon
                                                                                  kevin@srhlawfirm.com
TRUSTEE:
David Seror (TR)
mtzeng@brutzkusgubner.com

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _ January 29, 2018_, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

PRESIDING JUDGE:
Honorable Martin R. Barash
21041 Burbank Boulevard
Suite 342 / Courtroom 303
Woodland Hills, CA 91367

DEBTOR:                                                                           BORROWER:
Robert Benjamin Sautter                                                           Misue Sautter
5711 Reseda Blvd                                                                  3859 Sherwood Place
Tarzana, CA 91356                                                                 Sherman Oaks, CA 91423

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 January 29, 2018         Wendy Rodriguez                                                       /s/ WENDY RODRIGUEZ
 Date                            Printed Name                                                   Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
